                 Case 7:22-cv-04757-VB Document 10 Filed 09/02/22 Page 1 of 2




                                          STATE OF NEW YORK
                                    OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                     DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                         LITIGATION BUREAU
                                      Writer’s Direct Dial: (212) 416-6359

                                                                     September 2, 2022
    BY ECF:
    Hon. Vincent L. Briccetti
    United States District Judge
    Southern District of New York
    300 Quarropas Street
    White Plains, New York 10601

                    Re:     Iosilevich v. Walmart Inc. et al; 7:22-cv-04757-VB

    Dear Judge Briccetti:

           I write on behalf of this Office in response to the Court’s July 6, 2022 Order seeking the
    names, badge numbers, and address where the Defendants “John and Jane Doe” may be served.
    See Dkt. No. 7. In accordance with that Order, this Office has learned the following information
    from the New York State Police regarding the Defendants specified in the Court’s Order:

           •     “John Doe”: The full name of the person Plaintiff appears to intend to name is State
                 Trooper Sean Mallinson, Badge # 2438, and he can be served at Cortlandt State Police
                 Station, 1 Memorial Drive, Croton-On-Hudson, NY 10520.
           •     “Jane Doe”: The full name of the person Plaintiff appears to intend to name is State
                 Trooper Courtney Ramos, Badge #5671, and she can be served at Hawthorne State
                 Police Station, 200 Bradhurst Avenue, Hawthorne, NY 10532.


            The above details are based on information available at this time and are not an admission
    that the individuals engaged in the acts alleged or violated Plaintiff’s rights.

                                                                     Respectfully submitted,

                                                                     S/ Andrew Blancato
                                                                     Andrew Blancato
                                                                     Assistant Attorney General
                                                                     Andrew.Blancato@ag.ny.gov




          28 LIBERTY STREET, NEW YORK, NY 10005 ● PHONE (212) 416-8591 ● * NOT FOR SERVICE OF PAPERS
                                              WWW.AG.NY.GOV
          Case 7:22-cv-04757-VB Document 10 Filed 09/02/22 Page 2 of 2




cc:
       Ilya Feliksovich Iosilevich
       2401 Mermaid Avenue
       Brooklyn, NY 11224-2209

DECLARATION OF SERVICE

       Andrew Blancato, pursuant to 28 U.S.C. § 1746, declares under penalty of perjury as
follows:

        I am over 18 years of age and not a party to this action. On September 2, 2022, I caused
to be served the annexed Letter upon:

       Ilya Feliksovich Iosilevich
       2401 Mermaid Avenue
       Brooklyn, NY 11224-2209

plaintiff pro se, by mailing a true copy of the attached papers, enclosed and properly sealed in a
postpaid envelope, which was deposited in an official depository under the exclusive care and
custody of the United States Postal Services within the State of New York addressed to the above-
noted address designated by plaintiff for that purpose.


                                                    S/ Andrew Blancato
                                                    Andrew Blancato
                                                    Assistant Attorney General




                                                2
